Case 2:15-cv-00997-JRG-RSP Document 4 Filed 06/08/15 Page 1 of 2 PageID #: 24




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 DIGITAL TECHNOLOGIES LLC,

                             Plaintiff,
                                                     Civil Action No. 2:15-cv-997
                v.
                                                    JURY TRIAL DEMANDED
 SONY COMPUTER ENTERTAINMENT
 AMERICA LLC,

                             Defendant.


                      CORPORATE DISCLOSURE STATEMENT

        Plaintiff Digital Technologies LLC is a Texas limited liability company. Digital

Technologies LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.
Case 2:15-cv-00997-JRG-RSP Document 4 Filed 06/08/15 Page 2 of 2 PageID #: 25




       DATED June 8, 2015.                            Respectfully submitted,


                                                      By: /s/ Stevenson Moore
                                                      Hao Ni
                                                      Texas Bar No. 24047205
                                                      hni@nilawfirm.com
                                                      Timothy T. Wang
                                                      Texas Bar No. 24067927
                                                      twang@nilawfirm.com
                                                      Neal G. Massand
                                                      Texas Bar No. 24039038
                                                      nmassand@nilawfirm.com
                                                      Stevenson Moore V
                                                      Texas Bar No. 24076573
                                                      smoore@nilawfirm.com

                                                      NI, WANG & MASSAND, PLLC
                                                      8140 Walnut Hill Ln., Ste. 500
                                                      Dallas, TX 75231
                                                      Tel: (972) 331-4600
                                                      Fax: (972) 314-0900

                                                      ATTORNEYS FOR PLAINTIFF
                                                      DIGITAL TECHNOLOGIES LLC



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of June, 2015, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Stevenson Moore___
                                              Stevenson Moore
